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   7

   8                        UNITED STATES DISTRICT COURT

   9                      CENTRAL DISTRICT OF CALIFORNIA

  10                               WESTERN DIVISION

  11   INTERWORKS UNLIMITED, INC., a           Case No. 2:17-cv-04983-TJH-KSx
       California corporation,
  12                                           Order on Stipulation to Continue
                   Plaintiff,                  Motion to Dismiss
  13
             v.
  14
       DIGITAL GADGETS, LLC, a New
  15   Jersey limited liability company,

  16             Defendant,
       ________________________________
  17
       And related counterclaim
  18

  19

  20         The Court has considered the Stipulation to Continue Motion to Dismiss.

  21   Good cause appearing,

  22         IT IS HEREBY ORDERED that:

  23               1.     the deadline to oppose the motion to dismiss is continued to

  24                      September 3, 2019,
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   1               2.    the deadline to reply to the opposition is continued to October 3,

   2                     2019; and

   3               3.    the Motion Day on the motion to dismiss is continued to

   4                     October 7, 2019.

   5   Dated:

   6
                                      TERRY J. HATTER, JR.
   7                                  Senior United States District Judge

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